         EXHIBIT A




Case 5:15-cv-00156-D Document 79-1 Filed 07/12/16 Page 1 of 3
                  IN THE UNITED STATES DISTRICT COURT

             FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                               WESTERN DIVISION

                             Consolidated Civil Action



RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                        Plaintiffs,

v.                                                       No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                        Defendant.



CALLA WRIGHT, et al.,

                        Plaintiffs,

v.                                                       No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                        Defendants.

______________________________________________________________________________



         ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

________________________________________________________________________




        Case 5:15-cv-00156-D Document 79-1 Filed 07/12/16 Page 2 of 3
      This matter is before this Court on a motion by Plaintiffs’ counsel, George

Eppsteiner, for Mr. Eppsteiner to be discharged as counsel for Plaintiffs. For the reasons

set forth in the Motion to Withdraw as Counsel, and for good cause shown, IT IS

HEREBY ORDERED that the Motion to Withdraw as Counsel is GRANTED, and

George Eppsteiner shall be discharged as counsel for Plaintiffs effective July 16, 2016.

Remaining counsel of record for Plaintiffs shall remain as counsel for Plaintiffs in this

matter.




Dated ______________.

                                         BY THE COURT

                                         _________________________________




          Case 5:15-cv-00156-D Document 79-1 Filed 07/12/16 Page 3 of 3
